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       Wells Fargo & Company, and Mark Cooper




                           UNITED STATE8 DISTRICT COURT

                                  DISTRICT OF OREGON




DOMINIC R. MARSHALL and                                                CV No. 07-CV -309 HU
RYAN C. CURDY,

                                 Plaintiffs,     STIPULATED JUDGMENT OF
                                                 DISMISSAL WITH PREJUDICE
       v.
                                                 Pursuant to Fed. R. Civ. P. 41(a)(l)
WELLS CAPITAL MANAGEMENT
INCORPORATED, a California corporation,
WELLS FARGO & COMPANY, a Delaware
corporation, and MARK COOPER, a citizen
of the state of Oregon,

                               Defendants.



       Pursuant to Federal Rule of Civil Procedure 41(a)(l), the above parties, by and through

their undersigned counsel, hereby stipulate to the dismissal of this case with prejudice and




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                                        LANEPOWELL PC
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without costs or other award to any party.

       IT IS SO STIPULATED:


                                                   LANE POWELL PC




                                                   BY~Pa:ostrOff,OSB .95473
                                                     Telephone: 503.778.2100
                                                   Attorneys for Defendants



         .JI-/J- at'
Dated'--__----=-=-                           _     Dated,---+-_~                         _




       Based on the Stipulated Judgment of Dismissal ofthe parties, and good cause appearing,

       IT IS SO ORDERED.




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